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                             UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA



MICHELLE SPEIRS                             )
                                            )    Case Number
               Plaintiff,                   )
                                            )
       vs.                                  )
                                            )    CIVIL COMPLAINT
GC SERVICES, LP                             )
                                            )
               Defendant.                   )    JURY TRIAL DEMANDED
                                            )
                                            )



                            COMPLAINT AND JURY DEMAND


       COMES NOW, Plaintiff, Michelle Speirs, by and through her undersigned

counsel, Brent F. Vullings, Esq. of Warren & Vullings, LLP, complaining of Defendant

and respectfully avers as follows:



                       I.      INTRODUCTORY STATEMENT


       1.      Plaintiff, Michelle Speirs (hereinaIWHU³3ODLQWLII´  an individual consumer,

brings this action for actual and statutory damages and other relief against Defendant for

violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. ³)'&3$´ 

which prohibits debt collectors from engaging in abusive, deceptive and unfair practices.
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                                  II.          JURISDICTION


         2.    Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

§1337.

         3.    Venue in this District is proper in that the Defendant transacts business here

and maintains a registered office in this District.



                                        III.     PARTIES


         4.    Plaintiff, Michelle Speirs ³3ODLQWLII´ is an adult natural person residing at

350A Field Pointe Boulevard, Condo 204, Frederick, MD 21701.

         5.    At all times material and relevant hereto, 3ODLQWLIILVD³FRQVXPHU´DV

defined by the FDCPA, 15 U.S.C. § 1692 a(2).

         6.    Defendant, GC Services, LP ³'HIHQGDQW´ DWDOOWLPHV relevant hereto, is

and was a Limited Partnership engaged in the business of collecting debt within the State

of Maryland and the Commonwealth of Pennsylvania with its principal place of business

located at 6330 Gulfton St, Houston, TX 77081 and a registered address located at 116

Pine Street, Suite 320, Harrisburg, PA 17101.

         7.    Defendant is engaged in the collection of debts from consumers using the

mail and telephone. Defendant regularly attempts to collect consumer debts alleged to be

GXHWRDQRWKHU'HIHQGDQWLVD³GHEWFROOHFWRU´DVGHILQHGE\WKH)'&3$86&

§1692a(6).
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                           IV.     FACTUAL ALLEGATIONS


        8.     In or around the beginning of June 2009, Defendant, by and through its

agents, including but not limited to Megan, Melanie, Jessica and Mr. Graves, began a

VHULHVRIKDUDVVLQJDQGDEXVLYHFDOOVWR3ODLQWLII¶Vplace of employment.

        9.     The calls were in reference to an alleged consumer debt believed to be a

Department of Education Student Loan.

        10.    Plaintiff believes and thus avers that the alleged debt is not hers.

        11.    3ODLQWLIIKDVLQIRUPHG'HIHQGDQW¶VDJHQWVWKDWVKHGRHVQRWRZHWKHDOOHJHG

debt, asked them to send her something in writing and has demanded numerous times that

Defendant refrain from calling her at work because she is not allowed to receive personal

calls there.

        12.    'HIHQGDQW¶VDJHQWVKDYHUHIXVHGWRVHQG3ODLQWLIIDQ\WKLQJLQWKHPDLO

stating that LQVWHDG'HIHQGDQWZLOOMXVWJDUQLVK3ODLQWLII¶VZDJHV.

        13.    'HIHQGDQW¶VDJHQWVKDYHFRQWLQXHGWRFDOO3ODLQWLIIDWZRUN.

        14.    ,QRUDURXQG6HSWHPEHU'HIHQGDQW¶VDJHQWFDOOHG3ODLQWLII¶VSODFHRI

employment and asked to speak with payroll.

        15.    WhHQ3ODLQWLIIUHSOLHGWKDWWKHUHZDVQRSD\UROOGHSDUWPHQW'HIHQGDQW¶V

DJHQWVWDWHGWKDWKHZDVORRNLQJIRU³0LFKHOOH6SHLUV´DQGWKHQKXQJXSRQ3ODLQWLII

        16.    On or about December 3, 'HIHQGDQW¶VDJHQWFDOOHG3ODLQWLII¶VSODFHRI

employment, identified himself as a representative of the New York State Department of

(GXFDWLRQDQGUHFLWHG3ODLQWLII¶VVRFLDOVHFXULW\QXPEHULQLWVHQWLUHW\.
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        17.     'HIHQGDQW¶VDJHQWWKHQDVNHGWRVSHDNZLWKKXPDQUHVRXUFHVDQGZKHQ

Plaintiff replied that there was no humDQUHVRXUFHVGHSDUWPHQW'HIHQGDQW¶VDJHQWKXQJXS

on Plaintiff.

        18.     2QRUDERXW'HFHPEHU3ODLQWLIIUHFHLYHGDFDOOIURP³2SHUDWLRQV

'LYLVLRQ´DWKHUSODFHRIHPSOR\PHQW. The number on the caller ID is identified as

belonging to Defendant.

        19.     'HIHQGDQW¶VDJHQWDVNHGIRUWKHSD\UROOGHSDUWPHQWDQGZKHQ3ODLQWLII

UHSOLHGWKDWWKHUHZDVQRSD\UROOGHSDUWPHQW'HIHQGDQW¶VDJHQWKXQJXSRQ3ODLQWLII.

        20.     2QRUDERXW'HFHPEHU'HIHQGDQW¶VDJHQW0HODQLH, called

Plaintiff at her place of employment.

        21.     'HIHQGDQW¶VDJHQW0HODQLH, asked for the human resources department

VWDWLQJWKDWVKHLVWU\LQJWRYHULI\3ODLQWLII¶VLQFRPH

        22.     Plaintiff requested that Defendant fax written verification to her but

'HIHQGDQW¶VDJHQW0HODQLHSXW3ODLQWLIf on hold and transferred Plaintiff to a

³VXSHUYLVRU´0U*UDYHV

        23.     'HIHQGDQW¶VDJHQW0U*UDYHVVWDWHGWKDWWKLVZDVQ¶WWKHILUVWWLPH3ODLQWLII

had refused to cooperate with Defendant and that he would not waste his time or his

DJHQW¶VWLPHZLWK3ODLQWLII¶VUHTXHVW

        24.     'HIHQGDQW¶VDJHQW0U*UDYHVWROG3ODLQWLIIWKDWKHGLGQRWKDYHWRJLYH

her anything in writing but would just garnish her wages.
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       25.     3ODLQWLIIDWWHPSWHGWRVSHDNEXW'HIHQGDQW¶VDJHQW0U*UDYHVVSRNHRYHU

her and stated that as a representative of the United States Government, he had the right to

garnish her wages.

       26.     Mr. Graves did not mini-Miranda Plaintiff and proceeded to hang up on her.

       27.     'HIHQGDQW¶VDJHQWVFRQWLQXHWRFDOO3ODLQWLIIDWKHUSODFHRIHPSOR\PHQWDQG

in fact, have left messages on her work voicemail. Everyone in the office where Plaintiff

works has access to her voicemail.

       28.     The Defendant acted in a false, deceptive, misleading and unfair manner

when they engaged in conduct the natural consequence of which is to harass, oppress or

abuse Plaintiff in connection with the collection of a debt.

       29.     The Defendant acted in a false, deceptive, misleading and unfair manner by

threatening to take action that it could not legally take or did not intend to take for the

purpose of coercing Plaintiff to pay the debt.

       30.     The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

WKHLUDJHQW¶VDFWLRQVZLWKLQFRPSOiance of the FDCPA, but neglected to do so and failed to

adequately review those actions to insure compliance with the law.

       31.     At all times pertinent hereto, Defendant was acting by and through it agents,

servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.
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       32.     At all times pertinent hereto, the conduct of Defendant as well as its agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in

wanton disregard for federal and state law and the rights of the Plaintiff herein.

       33.     $VDUHVXOWRI'HIHQGDQW¶VFRQGXFW3ODLQWLII has sustained actual damages,

including, but not lLPLWHGWRLQMXU\WR3ODLQWLII¶V reputation, invasion of privacy, damage to

3ODLQWLII¶V credit, out-of-pocket expenses, physical, emotional and mental pain and anguish

and pecuniary loss and she will continue to suffer same for an indefinite time in the future,

all to her great detriment and loss.




                                  COUNT ONE ± FDCPA.


       34.     The above paragraphs are hereby incorporated herein by reference.

       35.     At all times relevant hereto, Defendant was attempting to collect an alleged

debt which was incurred by Plaintiff for personal, family or household purposes and is a

³GHEW´DVGHILQHGE\86&D  

       36.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of 15 U.S.C. § 1692:

               a.      F  'HIHQGDQW¶VDJHQWVFRQWDFWHG3ODLQWLIIDWDSODFH or time

that was known to be inconvenient;

               b.      F D  'HIHQGDQW¶VDJHQWVFRQWDFWHG3ODLQWLIIDWKHUSODFHRI

employment after being asked to refrain from doing so;

               c.      F E 'HIHQGDQW¶VDJHQWVOHIWYRLFHPDLOPHVVDJHVRQ3ODLQWLII¶V

work voicemail, which can be listened to by all office staff and this is prohibited;
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                  d.   1692d 'HIHQGDQW¶VDJHQWs conducted themselves in a manner which

        was harassing, oppressive, or abusive to Plaintiff;

                  e.   1692d(2) 'HIHQGDQW¶VDJHQWs used language that was abusive to

Plaintiff;

                  f.   G  'HIHQGDQW¶VDJHQWV caused the phone to ring and engaged

Plaintiff in conversation repeatedly;

                  g.   G  'HIHQGDQW¶VDJHQWVSODFHGSKRQHFDOOVZLWKRXWGLVFORVLQJ

their identity;

                  h.   1692e 'HIHQGDQW¶VDJHQWs made false, deceptive and misleading

representations to Plaintiff in the course of attempting to collect the alleged debt;

                  i.   H  'HIHQGDQW¶VDJHQWVDWWHPSWHGWRPLVOHDGWKH3ODLQWLIIWR

believe that they were affiliated with the United States or any state in their communications

with her;

                  j.   1692e(2) 'HIHQGDQW¶VDJHQWs mislead the Plaintiff as to the legal

status of the alleged debt;

                  k.   1692e(5) 'HIHQGDQW¶VDJHQWs threatened Plaintiff with action that

was not intended to be taken;

                  l.   1692e(7) 'HIHQGDQW¶VDJHQWs implied that Plaintiff had committed

conduct that disgraced her;

                  m.   1692e(10) 'HIHQGDQW¶VDJHQWs used false representations or

deceptive means to attempt to collect the alleged debt from Plaintiff;
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                   n.     H  'HIHQGDQW¶VDJHQWVIDLOHGWRPLQL-Miranda the Plaintiff;

                   o.     H  'HIHQGDQW¶VDJHQWVXVHGQDPHVRWKHUWKDQWKHWUXHQDPH

RIWKHGHEWFROOHFWRU¶VEXVLQHVV

                   p.     1692f 'HIHQGDQW¶VDJHQWs used unfair and unconscionable means to

attempt to collect the alleged debt from Plaintiff;

                   q.     1692f(6) DefendanW¶VDJHQWVWKUHDWHQHGWRXQODZIXOO\GLVDEOH

FRQVXPHU¶VSURSHUW\LHJDUQLVKKHUZDJHV

                   r.     1692g Defendant failed to send Plaintiff the 30 day validation notice

within 5 days of the initial communication.

        WHEREFORE, Plaintiff respectfully requests that this court enter judgment in her

favor and against Defendant, GC Services, LP and Order the following relief:

        a.         'HFODUDWRU\MXGJPHQWWKDWWKH'HIHQGDQW¶VFRQGXFWYLRODWHGWKH)'&3$

        b.         Actual damages;

        c.         Statutory damages pursuant to 15 U.S.C. §1692k;

        d.         5HDVRQDEOHDWWRUQH\¶VIHHVDQGFRVWVRIVXLWSXUVXDQWWR86&N

and

        e.         Such addition and further relief as may be appropriate or that the interests of

justice require.
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                          V.      JURY DEMAND


Plaintiff hereby demands a jury trial as to all issues herein.

                                       Respectfully submitted,

                                       WARREN & VULLINGS, LLP

Date: January 18, 2010                 BY: /s/ Brent F. Vullings
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